 Case: 4:06-cv-00023-CAS            Doc. #: 116 Filed: 04/19/06           Page: 1 of 1 PageID #:
                                              606

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


FURMINATOR, INC.,                                )
                                                 )
                       Plaintiff,                )
                                                 )          No. 4:06-CV-23 CAS
       v.                                        )
                                                 )
ONTEL PRODUCTS CORP., et al.,                    )
                                                 )
                       Defendants.               )

                                              ORDER

       This matter is before the Court on defendants’ sealed Motion Regarding Confidentiality of

the Court’s March 17, 2006 Decision, which asks the Court to issue a redacted, nonconfidential

version of the sealed Findings of Fact and Conclusions of Law filed March 17, 2006. Defendants

specify as confidential six items of information contained in the Findings and Conclusions, and state

that plaintiff Furminator has agreed these items are the only confidential information in the Findings

and Conclusions. Plaintiff responded to defendants’ motion and stated that it has no objection. The

Court will grant defendants’ motion and issue a redacted, nonconfidential version of the Findings and

Conclusions which omits the specified items.

       Accordingly,

       IT IS HEREBY ORDERED that defendants’ Motion Regarding Confidentiality of the

Court’s March 17, 2006 Decision is GRANTED. [Doc. 110]



                                                      ___________________________________
                                                      CHARLES A. SHAW
                                                      UNITED STATES DISTRICT JUDGE


Dated this 19th     day of April, 2006.
